Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 1 of 8 Pageid#: 3195




                     EXHIBIT 2
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 2 of 8 Pageid#: 3196



                                                                              Page 1

   1                   IN THE UNITED STATES DISTRICT COURT

   2                   FOR THE WESTERN DISTRICT OF VIRGINIA

   3        ______________________________________________________

   4        BABY DOE, et al.,

   5                                   Plaintiffs,

   6        v.                                    Civil Action No.

   7                                              3:22cv00049-NKM-JCH

   8        JOSHUA MAST, et al.,

   9                                   Defendants.

            ______________________________________________________

  10

  11

  12

  13

  14                          Video-recorded Deposition of

  15                                   JONATHAN MAST

  16                              Monday, July 17, 2023

  17                                       9:33 a.m.

  18                              Charlottesville, Virginia

  19

  20

  21

  22

  23

  24                        Reported by:       Mark E. Brown, RPR

  25

                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 3 of 8 Pageid#: 3197



                                                                            Page 69

   1        today please send 5K via ACH to Jonathan Mast."                      Do

   2        you see that?

   3             A         Yes, sir.

   4             Q         Did you receive $5,000 from the Pipe Hitter

   5        Foundation on or after May the 19th?

   6             A         After, yes, sir.

   7             Q         Do you recall when the money came in?

   8             A         I think it was about five or six days.

   9             Q         So May the 19th was a Friday.              Would it

  10        have been some time in the following week?

  11             A         Yes, sir, I think that's right.              There was

  12        a small delay where I had to follow up and they said

  13        that there was some kind of error on their end but I

  14        think that's about right.

  15             Q         And do you identify that account

  16        information on Exhibit 6 to be for your personal bank

  17        account?

  18             A         I believe it is.         I don't have the numbers

  19        memorized but I believe it is.

  20             Q         I looked up the routing number.              It is for

  21        the First National Bank in Altavista.                  Is that where

  22        you bank?

  23             A         That's me.

  24             Q         Is that account in your name only?

  25             A         Me and my wife.

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 4 of 8 Pageid#: 3198



                                                                            Page 70

   1             Q         And you understood that the money was

   2        coming to you and to your First National Bank account

   3        from the Pipe Hitter Foundation in furtherance of the

   4        grant agreement that you had signed on May the 10th,

   5        right?

   6             A         Yes, sir.

   7             Q         And what did you do with the $5,000?

   8             A         I forwarded it to my brother.

   9             Q         How did you do that?

  10             A         Check.

  11             Q         Same day?      Soon after you got the money?

  12             A         Soon after.

  13             Q         You send all $5,000 to your brother?

  14             A         No.    I -- this is the instance where I had

  15        reimbursed myself a thousand because I had loaned him

  16        a thousand.

  17             Q         You had advanced him a thousand so then you

  18        kept a thousand of the five?

  19             A         Uh-huh.

  20             Q         And sent the four to him?

  21             A         Correct.

  22             Q         Has the Pipe Hitter Foundation sent more

  23        money to you since this initial installment of

  24        $5,000?

  25             A         No, sir.

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 5 of 8 Pageid#: 3199



                                                                             Page 132

   1               A         Yeah, I was aware of that.

   2               Q         So do you know that the Pipe Hitter

   3        Foundation not only posted what we see here in

   4        Exhibit 13 to its web page but also pushed out an

   5        email to its members?

   6               A         That was initially discussed as a

   7        possibility but it never -- it was not discussed

   8        afterwards, but I assume that was probably the case,

   9        yes.

  10               Q         So you don't know one way or the other what

  11        else the Pipe Hitter Foundation did with this

  12        information other than what we see in Exhibit 13?

  13               A         Correct.      I never received the email

  14        publication, I don't think.

  15               Q         Do you recall, Mr. Mast, sending an email

  16        to Dena Cruden on May the 17th asking if Joshua could

  17        use Pipe Hitter Foundation grant money for basic

  18        living necessities?

  19               A         I think I did.        I don't know about the date

  20        but I remember having a conversation with her at some

  21        point along those lines.

  22                         MR. POWELL:       Let's mark this 14, please.

  23                         (Mast Deposition Exhibit No. 14 was marked

  24                         for identification and attached to the

  25                         transcript.)

                                         Veritext Legal Solutions
                       215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 6 of 8 Pageid#: 3200



                                                                           Page 133

   1        BY MR. POWELL:

   2             Q         Mr. Mast, you have in front of you

   3        Deposition Exhibit 14 which you will see is an

   4        exchange of text messages between you and Ms. Cruden

   5        starting with your initiating text there at the top

   6        of the first page, Wednesday, May 17, where you text

   7        her, quote, "Would you have time to talk for a few

   8        moments regarding funds raised being distributed to

   9        my brother," close quote.             Do you see that?

  10             A         I do.

  11             Q         And then you go on in the next paragraph to

  12        say that he had -- he Joshua had confided in you that

  13        he was out of money and was praying for a miracle,

  14        and you were wondering if some of the Pipe Hitter

  15        funds could be used -- you will see there in the

  16        third-to-the-last line -- quote, for basic living

  17        necessities.         Do you see that?

  18             A         I do.

  19             Q         Tell me what you remember about your

  20        conversation with Dena about this subject.

  21             A         I remember talking to her that I was -- I

  22        had at some point talked to my brother, I don't

  23        remember when, but he had said that things were

  24        pretty tight financially and told me a little bit

  25        about that and that was the end of the conversation.

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 7 of 8 Pageid#: 3201



                                                                           Page 145

   1             A         Yes.    Most of the information came from him

   2        at the time that it occurred, correct.

   3             Q         So during this time frame, April and May of

   4        2023, Joshua knew you were in touch with the Pipe

   5        Hitter Foundation, correct?

   6             A         Yeah, I had told him that I had decided to

   7        touch base with them and partner with them.

   8             Q         Did he know in advance that you were going

   9        to be interviewed by One America News?

  10             A         No, he did not.

  11             Q         Why didn't you tell him?

  12             A         I purposely didn't tell anyone in my family

  13        because there has been a lot of, oh, politely put,

  14        negative media coverage of my family and I didn't

  15        want any repercussions to go to anybody else but me.

  16             Q         Were you aware on June 28th Joshua and

  17        Stephanie's lawyers filed in the federal court case

  18        something called a memorandum in opposition to

  19        Plaintiffs' motion to show cause?

  20             A         Yes, I think so.         Is that where the cease

  21        and desist letter gets filed with the complaint, my

  22        brother's attorney filed their response to that?

  23             Q         Let's back up a little bit.             This is not a

  24        memory quiz for you and I'm not asking you to

  25        recreate what's in the court file.

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 3:22-cv-00049-NKM-JCH Document 262-2 Filed 07/20/23 Page 8 of 8 Pageid#: 3202



                                                                            Page 149

   1                        MR. FRANCISCO:        Objection.      This document

   2        speaks for itself.            It's a legal pleading not by

   3        Jonathan.

   4        BY MR. POWELL:

   5              Q         Let me ask it another way.            You testified

   6        just a few minutes ago that Joshua knew you were in

   7        touch with the Pipe Hitter Foundation in April and

   8        May of this year, correct?

   9              A         Well, yeah, because he had to know how I

  10        was sending him $5,000 or $4,000.

  11              Q         And you knew that he was in touch with the

  12        Pipe Hitter Foundation because he told you that

  13        someone from the Pipe Hitter Foundation was going to

  14        reach out to you.           That's the text message that you

  15        had the initial contact with Dena on April the 9th.

  16              A         Sure.     And I believe somewhere in this

  17        document says he had been put in touch with the Pipe

  18        Hitter and told them he couldn't work with them and

  19        that's why he directed them to another member of the

  20        family.

  21              Q         Right.     So you were then in contact

  22        intermittently in April and May with the Pipe Hitter

  23        Foundation and Jonathan (sic) knew about that, didn't

  24        he?

  25              A         Joshua.     Yes.

                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
